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EXHIBIT A
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UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

FILED
April 25, 2006

No. 05-4761
CR-04~-385
UNITED STATES OF AMERICA

Plaintiff - Appellee

Vv.
ALI AL-TIMIMI

Defendant - Appellant

ORDER

Appellant has filed a motion to vacate his appeal and remand his
case for further proceedings before the trial court. Previously,
this Court granted a motion to stay the briefing schedule pending
resolution of outstanding issues.

The motion to vacate and to remand raises appellant's concern,
based on recent developments, that the government may have
undisclosed intercepts of either the appellant or various individuals
material to his trial. While this is the main purpose of the
requested order, appellant has also raised questions relating to
alleged violations of attorney-client communications and access to
evidence claimed as classified by the government.

Appellee, the United States, has consented to the motion while

emphasizing that its consent to the motion does not reflect its views
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on the merits of Al-Timimi's contentions, or its views on the
jurisdiction of the district court in the Eastern District of
Virginia over Al-Timimi's allegations regarding conditions of his
incarceration.

Having considered the motion and positions of the parties, IT IS

HEREBY ORDERED
a) Appellant's motion to vacate and to remand his case pending
further proceedings is GRANTED.

(2) IT IS FURTHER ORDERED, without ruling on the government's
jurisdictional question regarding the prison conditions,
that the district court may consider upon remand issues
raised by appellant and order whatever relief or changes in

the case, if any, that it considers appropriate.

(3) IT IS FURTHER ORDERED that, following a final order by the
district court, appellant may timely file without prejudice
a new notice of appeal with this Court.
This order is entered at the direction of Judge Widener, with
the concurrences of Judge Michael and Judge Hamilton, and with
the agreement of the parties.

For the Court,

/s/ Patricia 8. Connor

CLERK
